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LAW OFFICES OF

FRANK J. MCKECWN, JR., P.A.

CONCOURSE TOWER 1
SU|TE 701
2000 PALM BEACH LAKES BOULEVARD
WEST PALM BEACH, FL 33409

FRANK J. McKEOWN, JR. Telephone No. (561) 832-5650
BOARD CERT|F|ED C|V|L TR|AL AT|'ORNEY (561) 688-9833
SPEC|AL|Z|NG |N EMPLOYMENT LlT|GATlON (561) 721-3724

Facsimile No. (561) 688-9985

September 10, 2007

l/IA U.$, MAIL A/VD FA C$IMILE
Mr. Greg Shavilz

Shavilz Law Group P.A.

1515 South Federal Highway
Suite 404

Boca Raton, FL 33432

Re: $u///van \/. Mark$
Dear Greg:

I have in my possession the check for you client for $20,000. She has not
returned the hard copy of the release signed. I have contacted her to do so
immediately so I can release the check.

Very truly yours,

CC\
`_______/

Frarlk J. McKeown, Jr.
FJMcK/mk

EXH|B|T

§ E

 

